ILND 450 (Rev. Case:    1:17-cv-08474
               10/13) Judgment in a Civil Action Document   #: 130 Filed: 07/08/20 Page 1 of 1 PageID #:643

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

Lashawna Lane-Murray, et al.,

Plaintiff(s),
                                                                   Case No. 17 C 8474
v.                                                                 Judge Edmond E. Chang

Jimmy Payton, et al.,

Defendant(s).

                                     JUDGMENT IN A CIVIL CASE
Judgment is hereby entered (check appropriate box):

                  in favor of plaintiff(s)
                  and against defendant(s)
                  in the amount of $       ,

                           which        includes       pre–judgment interest.
                                        does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                  in favor of defendant(s)
                  and against plaintiff(s)
.
         Defendant(s) shall recover costs from plaintiff(s).


             other: Judgment entered in favor of Plaintiff and against Defendants as follows:
against Defendant Payton, damages are awarded in the total amount of $1,761,759.09,
apportioned as Lashawna Lane-Murray receiving $550,000; another $550,000 to K.M.; $400,000
to S.M.; $250,000 to A.M; and the estate is entitled to $11,759.09 in funeral expenses. Judgment
entered against Defendant United States, based on 5% responsibility, for a damages award of
$88,087.95, with the same pro rata apportionment.

This action was (check one):

     tried by a jury with Judge    presiding, and the jury has rendered a verdict.
     tried by Judge Edmond E. Chang without a jury and the above decision was reached.
     decided by Judge       on a motion

Date: 7/8/2020                                                  Thomas G. Bruton, Clerk of Court

                                                                /s/ Michael Wing, Deputy Clerk
